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                                                                       The Honorable John C. Coughenour




                                        UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF WASHINGTON
                                                 AT SEATTLE

 8   JAMES HEALY, on behalf of himself and all                   NO. 2:20-cv-01473-JCC
     others similarly situated,
 9                                                               DECLARATION OF JOEL STRASSBURG
                          Plaintiff,                             IN SUPPORT OF MILLIMAN, INC.'S
10                                                               MOTION FOR SUMMARY JUDGMENT
                  V.
11

12   MILLIMAN, INC., d/b/a INTELLISCRIPT,

13                        Defendant.

14
                  1, Joel Strassburg, state and declare as follows:
15
                  1.      I am competent to testify and the statements in this declaration are based upon
16
     my personal knowledge.
17
                  2.      I am a Director of Process, Projects, and Operations at Milliman, Inc. d/b/a
18
     | IntelliScript ("Milliman").
19
                  3       Milliman closely tracks all inquiries it receives from insurance companies, as well
20
     as all individual requests for consumer reports, and any consumer disputes related to the
21
     information contained in the consumer's report.
22
                  4.      After Mr. Healy filed suit against Milliman, I organized a team that reviewed and
23
     analyzed Milliman's data on the number ofcorrected consumer reports it has issued over the past
24
     six years.         The data showed that between 1/1/2015 and 12/31/2020, Milliman processed
25


       DECLARATION OF JOEL STRASSBURG IN SUPPORT OF                           Williams, Kastner & Gibbs PLLC
                                                                              601 Union Street, Suite 4100
       MILLIMAN, INC.'S MOTION FOR SUMMARY JUDGMENT - 1                       Scattle, WA 98101-2380
       (NO. 2:20-cv-01473-JCC)                                                (206) 628-6600

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     42,781,776 inquiries from insurance companies related to consumer prescription and/or medical

     history information. Of those 42.781,776 inquiries that were processed, 81,464 consumers

 3 |requested a copy of their consumer report. Out of the 81,464 consumers that requested a copy

 4 | oftheir report, only 1,571 required some form of revision. Thus, out of the 81,464 reports that

 5    were provided to consumers over the last six years, only 1.9% resulted in a corrected report.

 6 || Taking a step back, this means that out of the 42,781,776 inquiries from insurance companies

 7   that Milliman processed between 2015 and 2020, only 1 out of every 27,231 (0.004%) resulted

 8 in a consumer report that required a revision.

 9                5.     Milliman also conducted an internal audit of every consumer dispute from the last

10 |six years in order to examine and document Milliman's compliance with the reinvestigation

11   requirements ofthe Fair Credit Reporting Act. We have reviewed all disputes that were logged

12 | between 1/1/2015 and 12/31/2020, and determined that out of 1,690 consumer disputes that were
13 |logged duringthat period, Milliman's median dispute resolution time is 14 days, and our average
14 dispute resolution time is 24 days. Moreover, 26.4% of these disputes were required to be

15   resolved in 45 days, as opposed to 30 days, because the individual provided additional

16 infommation during the investigation process.

17                I declare under penalty of perjury of the laws of the United States of America that the

18   above is true and correct.

19                Executed in Hest Send.Jsconsn                  this ZS day of March, 2021.
20

21
                                                           Joel Strassburg
22                                                         Director- Process, Projecus, and Operations
23                                                         Milliman, Inc. d/b/a "IntelliScript"

24

25


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 1                                  CERTIFICATE OF SERVICE

 2           The undersigned certifies under penalty of perjury under the laws of the State of
 3   Washington that on the date indicated below, I caused service of a true and correct copy of the
 4   forgoing document in the manner indicated below to:
 5     Beth E. Terrell, WSBA 26759                                Via ECF
       Adrienne D McEntee, WSBA 34061
 6
       Jennifer Rust Murray, WSBA 36983
 7     Terrell Marshall Law Group Inc.
       936 North 34th Street, Suite 300
 8     Seattle, WA 98103-8869
       Tel: (206) 826-6603
 9     bterrell@terrellmarshall.com
       amcentee@terrellmarshall.com
10
       jmurray@terrellmarshall.com
11
       Attorneys for Plaintiff
12     James A. Francis                                           Via ECF
       John Soumilas                                        
13     Lauren KW Brennan
14     Francis Mailman Soumilas, P.C.
       1600 Market Street, Suite 2510
15     Philadelphia, Pennsylvania 19103
       Tel: (215) 735-8600
16     jfrancis@consumerlawfirm.com
       jsoumilas@consumerlawfirm.com
17     lbrennan@consumerlawfirm.com
18
             DATED this 5th day of April, 2021.
19

20
                                                   s/Catherine Berry ____________________
21                                                 Catherine Berry, Legal Assistant
                                                   cberry@williamskastner.com
22

23

24

25

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